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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 KGB NY LLC,
                                                                        23-cv-10979
                                                       Civ. Action No. _______________
                       Plaintiff,
                                                       COMPLAINT
        v.
                                                       JURY TRIAL DEMAND
 ROBERTO GUZMAN, DAVID KHOURI, and
 CULTUM STUDIO,

                       Defendants.


       Plaintiff KGB NY LLC (“Plaintiff” or “KGB”), by and through its attorneys, Tarter

Krinsky & Drogin LLP, as and for its Complaint against Defendants Roberto Guzman

(“Guzman”), David Khouri (“Khouri”), and CULTUM Studio (“Cultum,” and collectively

“Defendants”) herein, alleges and states as follows:

                                    NATURE OF THE ACTION

        1.     This is a civil action for copyright infringement arising under the copyright laws

of the United States, 17 U.S.C. § 101 et seq. This action arises out of Defendants’ unauthorized

publication of copyrighted materials owned by Plaintiff. Plaintiff seeks monetary and injunctive

relief under the Copyright Act, 17 U.S.C. § 101, et seq.

                                        THE PARTIES

        2.     Plaintiff is a domestic limited liability company, organized and existing pursuant

to the laws of the State of New York, with a principal place of business at 200 Lexington Avenue,

Suite 1616, New York, New York 10016.

        3.     Upon information and belief, Defendant Guzman is an individual residing in New

York, New York.




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        4.     Upon information and belief, Defendant Khouri is an individual residing in New

York, New York.

        5.     Upon information and belief, Cultum is a domestic company with its principal

place of business located in New York, New York.

                                 JURISDICTION AND VENUE

        6.     This Court has original subject matter jurisdiction over this Complaint pursuant to

28 U.S.C. § 1331 and 1338(a) as this action arises under the copyright laws of the United States,

17 U.S.C. § 101 et seq.

        7.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367.

        8.     Venue in this District is proper under 28 U.S.C. §1391(b) because the parties reside

within this Judicial District.

                                   FACTUAL BACKGROUND

        9.     Plaintiff is the designer and manufacturer of handcrafted furniture and is the owner

of professional photographs showcasing its pieces (the “Copyrighted Photographs”), which are

of substantial commercial value to Plaintiff. Copies of the Copyrighted Photographs are attached

hereto as Exhibit A.

        10.    Plaintiff entered into a Work For Hire Agreement with Alan Tansey, the

photographer of the Copyrighted Photographs, whereby Plaintiff was granted the entire right,

title, and interest in and to the Copyrighted Photographs. A copy of the Work For Hire Agreement

is attached hereto as Exhibit B.

        11.    Plaintiff also registered the Copyrighted Photographs with the U.S. Copyright

Office. Records of the U.S. Copyright Office registrations are attached hereto as Exhibit C.




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       12.     On or about May 1, 2023, Plaintiff discovered Defendants published the

Copyrighted Photographs without obtaining Plaintiff’s consent or permission to use the

Copyrighted Photographs on their websites, www.davidkhouri.com, www.roberto-guzman.com,

and www.cultumprojects.com (The “Infringing Activity”). Screenshots of the Infringing Activity

are attached hereto as Exhibit D.

       13.     At the time, Guzman and Khouri were Plaintiff’s members, and acquired the

Copyrighted Photographs in their capacity as Plaintiff’ members.

       14.     On or about June 9, 2023, Plaintiff’s counsel formally demanded Defendants cease

and desist the Infringing Activity, destroy all copies of the Copyrighted Photographs in their

possession or control, and provide Plaintiff with a full account of all publication of the

Copyrighted Photographs and proceeds therefrom. A true and correct copy of the June 9, 2023,

demand letters are attached hereto as Exhibit E.

       15.     On or about June 16, 2023, David M. Adler, Esq., counsel for defendants Guzman

and Khouri, contacted Plaintiff’s counsel stating that Guzman and Khouri had complied with the

demand, removed the Copyrighted Photographs from the relevant websites, and destroyed any

copies of the Copyrighted Photographs in their possession. However, upon information and belief,

Guzman continued to use other photographs owned by Plaintiff on his LinkedIn and Archinect

profiles, Khouri continued to use other photographs owned by Plaintiff on his LinkedIn profile

and personal website, and Cultum used Plaintiff’s mailing address as its business address.

Furthermore, counsel for Guzman and Khouri stated that they were “unable to comply” with the

request to provide a full accounting. A true and correct copy of the June 16, 2023, letter is attached

hereto as Exhibit F.




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         16.    On or about June 23, 2023, Plaintiff’s counsel reiterated its demand for Defendants’

 revenue and profits earned through the marketing and sale of Plaintiff’s intellectual property. A

 true and correct copy of the June 23, 2023, letter is attached hereto as Exhibit G.

         17.    To date, Defendants have not complied with Plaintiff’s demand for the full

 accounting.

         18.    Plaintiff seeks herein preliminary and permanent injunctive relief and actual

 damages including disgorgement of all profits pursuant to federal law pertaining to copyrights.

                                            COUNT I
                         Copyright Infringement Against All Defendants
                                        (17 U.S.C. § 501)

         19.    Plaintiff realleges and incorporates by reference the allegations set forth above as

if fully set forth herein.

         20.    Plaintiff owns all of the Copyrighted Photographs.

         21.    Plaintiff has complied in all respects with the provisions of the Copyright Act, 17

U.S.C. §§ 101 et seq., and all other laws governing copyright to secure the exclusive rights and

privileges in and to its registered copyrights in the Copyrighted Photographs.

         22.    Defendants have infringed Plaintiff’s Copyright by making unauthorized

publication of the Copyrighted Photographs.

         23.    Defendants’ unauthorized publication of the Copyrighted Photographs has resulted

in damage to Plaintiff and continues to damage Plaintiff.

         24.    Defendants have profited from and received a direct financial interest from its

unauthorized publication of the Copyrighted Photographs.

         25.    Because Defendants knew of its infringement, and/or acted with reckless disregard

for or willful blindness to Plaintiff’s copyright rights, Defendant’s infringement was willful.




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         26.      Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to an order enjoining Defendant

from further unauthorized publication of the Copyrighted Photographs.

         27.      Pursuant to 17 U.S.C. § 504, Plaintiff is entitled to recover actual damages and any

profits of Defendant, or an award of statutory damages up to $150,000.

         28.      Pursuant to 17 U.S.C. § 505, Plaintiff is entitled to an award of attorneys’ fees and
costs.

                                           COUNT II
               Tortious Interference with Business Relations Against All Defendants

         29.      Plaintiff realleges and incorporates by reference the allegations set forth above as

 if fully set forth herein.

         30.      Plaintiff has valuable business relationships with customers who seek Plaintiff’s

 furniture design and manufacturing services.

         31.      At all relevant times, Defendants were aware of Plaintiff’s business relationships

 with customers seeking its furniture design and manufacturing services.

         32.      Defendants intentionally and improperly interfered with the Plaintiff’s business

 relationships by their unauthorized publication of the Copyrighted Photographs.

         33.      Defendants’ conduct directly and proximately caused disruption of Plaintiff’s

 relationships with customers seeking its furniture design and manufacturing services.

         34.      Defendants had actual knowledge that their actions would divert Plaintiff’s

 customers away from Plaintiff and to Defendants by their unauthorized publication of the

 Copyrighted Photographs.

         35.      Plaintiff has been damaged by Defendants’ diversion of Plaintiff’s customers away

 from Plaintiff and to Defendants by their unauthorized publication of the Copyrighted

 Photographs.




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        36.     Plaintiff is entitled to damages, costs and attorneys’ fees as allowed by law.

                                           COUNT III
                             Unjust Enrichment Against All Defendants

        37.     Plaintiff realleges and incorporates by reference the allegations set forth above as

if fully set forth herein.

        38.     Upon information and belief, Defendants have been unjustly enriched and have

unfairly benefitted by their unauthorized publication of the Copyrighted Photographs.

        39.     Upon information and belief, Defendants have been unjustly enriched at Plaintiff’s

expense.

        40.     It is against equity and good conscience to permit Defendants to retain the benefit

they have obtained at Plaintiff’s expense.

        41.     By reason of Defendants’ unjust enrichment, Plaintiff, as the owner of the U.S.

copyright registration for the rights to and in the Copyrighted Photographs, has been damaged in

an amount to be proven at trial.

                                        COUNT IV
                   Breach of Fiduciary Duties Against Guzman and Khouri

        42.     Plaintiff realleges and incorporates by reference the allegations set forth above as

if fully set forth herein.

        43.     The Copyrighted Photographs were acquired by Guzman and Khouri in the course

of acting as Plaintiff’s members.

        44.     Guzman and Khouri owed fiduciary duties to Plaintiff as Plaintiff’s members,

including, inter alia, the duty of care and the duty of loyalty.

        45.     Guzman and Khouri’s misconduct, in the form of their unauthorized publication of

the Copyrighted Photographs, violated the fiduciary duties they owed to Plaintiff.




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         46.    Guzman and Khouri’s misconduct and violations of their fiduciary duty owed to

Plaintiff as alleged herein directly caused economic and reputational harm to Plaintiff.

         47.    As a result of Guzman and Khouri’ breach of fiduciary duties, Plaintiff is entitled

to (1) an accounting to calculate the sales proceeds Guzman and Khouri have procured owing to

their unauthorized publication of the Copyrighted Photographs and (2) lost profits and other

damages in an amount to be determined and proven at trial.

                                      PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays for judgment as follows:

        A.      Entry of a judgment against Defendants, finding that Defendants have infringed

Plaintiff’s rights in the federally registered copyright for the Copyrighted Photographs under 17

U.S.C. § 101 et seq.;

        B.      Injunctive relief restraining Defendants from claiming rights in or to the

Copyrighted Photographs;

        C.      An award of actual damages suffered by Plaintiff due to Defendants’ infringement

of the Copyrighted Photographs and a disgorgement of all profits derived by Defendants from

their infringement, pursuant to 17 U.S.C. § 504 or as otherwise allowed by law;

        D.      An award of damages, including costs and attorneys’ fees pursuant to 17 U.S.C. §

505; and

        E.      Such other and further relief as this Court may deem just and proper.

                                   DEMAND FOR JURY TRIAL

        In accordance with Rule 38 of the Federal Rules of Civil Procedure, Plaintiff respectfully

demands a jury trial of all issues triable to a jury in this action.




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Dated: December 19, 2023             Respectfully submitted,

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